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December 1, 2020

BY ECF
Hon. Lorna G. Schofield
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

Re:       Erdman v. Victor et al., 20-CV-04162-LGS

Dear Judge Schofield:

This firm represents Defendant Adam Victor in the above-captioned defamation action
brought by Pro Se Plaintiff Tyler Erdman. I write in response to Mr. Erdman’s letter,
dated November 30, 2020, which was made available to Mr. Victor by filing on the public
docket on December 1, 2020.

In my November 3, 2020 letter motion, I informed Your Honor that ¶ 48 of Plaintiff’s
Amended Complaint (ECF No. 18), quotes directly from a document that was placed
under seal on October 23, 2020 in Khatskevich v. Victor, et al., Index No. 151658/2014
(Sup. Ct. N.Y. County) (“Khatskevich Action”), pursuant to an order that was not
provided to me until October 30. In the aforementioned letter motion, I requested leave
to submit documents, including the relevant sealing order and related materials that are
also under seal, in camera, in order to make an application to have the relevant portions
of Mr. Erdman’s Amended Complaint sealed and replaced on the docket with
appropriate redactions. Because Mr. Erdman is not a party to the Khatskevich Action, I
could not provide more detail regarding the documents under seal.

In light of Mr. Erdman’s November 30, 2020 letter and the fact that he is not a party to
the Khatskevich Action, I am submitting this letter and its exhibits ex parte and under
seal, and am filing a copy of this letter on the public docket with appropriate redactions.
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Respectfully submitted,




Jeffrey M. Eilender

Copies To:
Pro Se Plaintiff Tyler Erdman (by ECF)
David Wolf, Counsel for Manhattan Place Condominium (by ECF)
